Case 6:23-cv-00871-CEM-DCI Document 154-2 Filed 07/29/24 Page 1 of 4 PagelD 2188

RE: CHRISTOPHER DORWORTH

DATE: 07/24/2024

Te

Christopher Dorworth
DOB - 07/17/1976
1520 Whitstable Court
Heathrow FL, 32746
Tel - 407-310-7375

FROM: - Andrea Lilavois, APRN

To Whom It May Concern:

| certify that Mr. Christopher Dorworth attended an appointment on Wednesday, July 24, 2024.
Please excuse him from required duties for the following dates:
July 24th

July 25th
July 26th

May return to work following completion of antibiotic course.

Any questions, please do not hesitate to call our office at 386-843-3132

Warmly,

Andrea Lilavois, APRN
Case 6:23-cv-OOENCOUNTFER?S) FOR 'GHRIS TOPHER DORWORTH 4 PagelD 2189

ye -

eal aie CeCe le gent)
Name: Christopher Dorworth 1520 Whitstable Court
DOB: July 17, 1976 Heathrow, FL 32746

Phone: 407-310-7375

OFFICE VISIT
Signed by Andrea Lilavois. Date of service: 07/24/2024
07/24/2024 7:30 am -

PT a — WITH REPORTS OF CHILLS, SWEATS, NAUSEA, VOMITING, INSOMNIA, BODY CRAMPS, AND HEADACHE FOR THE LAST

CURRENT MEDICATIONS:

PATIENT ALLERGIES:

“ NKDA:

TEMP 100.2

BP 140/90 HR 99

SUSPICIOUS FOR VIRAL INFECTION, MAY RULE OUT COVID WITH RAPID TESTING,
RECOMMENDATIONS TO INTIAITE A Z-PAK TO PREVENT SECONDARY RESPIRATORY INFECTION

RECOMMENDATIONS TO INCREASE FLUIDS, REST, MAY TAKE OTC MOTRIN 600-800MG BID FOR MILD MUSCLE ACHES AND TYLENOL FOR
FEVER CONTROL

TO PRESENT TO URGENT CARE IF SYMPTOMS WORSEN OR PERSIST

WILL RTO PRN

PASS) -t-) OO ed Ol 80
<teeet a

e Prim. Fever, unspecified (R50.9 - ICD10) « RX Zithromax Z-Pak - 250MG - Orders:

¢ Contact w and exposure to oth viral communicable diseases (220.828 - |CD10)

Signed:

Syl t so Pe aS ol oe

This message may contain privileged and confidential information and/or protected health information (PHI) intended solely for the use of the recipient(s) named above. Any other, persons are

ee ee es
i
vg
2 :

